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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

IRA KLEIMAN, as the personal representative CASE NO.: 9:18-cv-80176-BB
of the Estate of David Kleiman, and W&K Info
Defense Research, LLC

Plaintiffs,

Vv.

CRAIG WRIGHT

 

Defendant.

MOTION TO APPEAR PRO HAC VICE,
CONSENT TO DESIGNATION, AND REQUEST TO
ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer
Review, and Discipline of Attorneys of the United States District Court for the Southern District
of Florida, the undersigned respectfully moves for the admission pro hac vice of Alexander J.
Holtzman, of the law firm of Boies Schiller Flexner LLP, 44 Montgomery Street, 41% Floor, San
Francisco, California 94104, Telephone: (415) 293-6800, for purposes of appearance as co-counsel
on behalf of Plaintiffs Ira Kleiman, as the personal representative of the Estate of David Kleiman,
and W&K Info Defense Research, LLC, in the above-styled case only, and pursuant to Rule 2B of
the CM/ECF Administrative Procedures, to permit Alexander J. Holtzman to receive electronic
filings in this case, and in support thereof states as follows:

1, Alexander J. Holtzman is not admitted to practice in the Southern District of Florida
and is a member in good standing of the Bars of the State of California, the United States Court of
Appeals for the Ninth Circuit, and the United States District Courts for the Northern, Eastern,
Central, and Southern Districts of California.

2. Movant, Andrew S. Brenner, Esquire, of the law firm of Boies Schiller Flexner
LLP, 100 SE 2nd Street, Suite 2800, Miami, Florida 33131, Telephone (305) 539-8400, is a

member in good standing of The Florida Bar and the United States District Court for the Southern
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District of Florida and is authorized to file through the Court’s electronic filing system. Movant
consents to be designated as a member of the Bar of this Court with whom the Court and opposing
counsel may readily communicate regarding the conduct of the case, upon whom filings shall be
served, who shall be required to electronically file and serve all documents and things that may be
filed and served electronically, and who shall be responsible for filing and serving documents in
compliance with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF
Administrative Procedures.

3. In accordance with the local rules of this Court, Alexander J. Holtzman has made
payment of this Court’s $200.00 admission fee. A certification in accordance with Rule 4(b) is
attached hereto.

4, Alexander J. Holtzman, by and through designated counsel and pursuant to Section
2B CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
Filings to Alexander J. Holtzman at email address: aholtzman/“)bsfllp.com.

WHEREFORE, Andrew S. Brenner, moves this Court to enter an Order for Alexander J.
Holtzman of Boies Schiller Flexner LLP to appear before this Court on behalf of Plaintiffs Ira
Kleiman, as the personal representative of the Estate of David Kleiman, and W&K Info Defense
Research, LLC, for all purposes relating to the proceedings in the above-styled matter and directing

the Clerk to provide notice of electronic filings to Alexander J. Holtzman.

Dated: October 27, 2021 Respectfully submitted,

By: /s/ Andrew S. Brenner

Andrew S. Brenner, Esq.

BOIES SCHILLER FLEXNER LLP
100 SE 2" Street, Suite 2800

Miami, Florida 33131

abrenner(a bsfilp.com

Counsel to Plaintiffs Ira Kleiman as
Personal Representative of the Estate of
David Kleiman and W&K Info Defense
Research, LLC
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

of the Estate of David Kleiman, and W&K Info

IRA KLEIMAN, as the personal representative | CASE NO.: 9:18-cv-80176-BB
Defense Research, LLC

Plaintiffs,
CRAIG WRIGHT |
Defendant. |

 

 

CERTIFICATION OF ALEXANDER J. HOLTZMAN

Alexander J. Holtzman, Esquire, pursuant to Rule 4(b) of the Rules Governing the
Admission, Practice, Peer Review, and Discipline of Attorneys, hereby certifies that: (1) I have
studied the Local Rules of the United States District Court for the Southern District of Florida;
(2) I am a member in good standing of the Bars of State of California, the United States Court of
Appeals for the Ninth Circuit, and the United States District Courts for the Northern, Eastern,
Central, and Southern Districts of California; and (3) I have not filed three or more motions for

pro hac vice admission in this District within the last 365 days.

Berle LL,

ALEXANDER J. HOLTZMAN
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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on October 27, 2021, a true and correct copy of the foregoing
was filed with CM/ECF, which caused a copy to be served on all counsel of record.

/s/ Andrew S. Brenner
ANDREW S. BRENNER
